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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


                                              Civil Action No. 11-07318 (CCC) (CLW)
   JUICE ENTERTAINMENT, LLC,
   THOMAS DORFMAN, AND
   CHRIS BARRETT,


   Plaintiffs,

                     vs.

   LIVE NATION ENTERTAINMENT, INC.,

                                Defendant.



  ______________________________________________________________________________

                    DEFENDANT’S MEMORANDUM OF LAW IN
                        SUPPORT OF MOTIONS IN LIMINE
  ______________________________________________________________________________




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                                   PRELIMINARY STATEMENT

          Senator Daniel Patrick Moynahan once famously stated that: “Everyone is entitled to their

  own opinions, but they are not entitled to their own facts.” These days however people seem to

  increasingly embrace the concept of “alternative facts” to justify their non-compliance with

  realities they would prefer to avoid. Here, this Court previously has made a series of clear rulings,

  explained in three written opinions, which: mandate the conclusion that Plaintiffs cannot obtain

  any potential monetary damage award given the Court’s order barring the recovery of lost profits

  (which is the only type of damages Plaintiffs disclosed during discovery); and identify a handful

  of issues that remain left in his case to be tried. These motions in limine are necessary because

  Plaintiffs propose a framework for the trial of this case that simply ignores the effect of the Court’s

  prior decisions. Plaintiffs: (a) intend to call at least 10 witnesses (nine fact witness and an expert

  on damages); (b) identify another 17 witnesses they “reserve the right” to call; and (c) identify 385

  exhibits they intend to introduce into evidence. Plaintiffs propose conducting the trial before a

  jury that they intend to ask to sit for two weeks on liability and an additional one or two days on

  damages. See Final Pretrial Order (ECF # 133). Virtually none of Plaintiffs’ proposed witnesses,

  exhibits or facts pertain to any of the handful of issues that remain alive and given the Court’s

  clear rulings, any evidence about damages would be plainly irrelevant. These motions in limine

  are necessary to address the wide chasm between the fact-based realities of this case based on the

  Court’s prior rulings and the expansive trial Plaintiffs intend to present and rulings on them will

  assist the Court in the administration of its trial calendar and will spare Defendant Live Nation the

  burden of trial preparation on issues that have been eliminated from the case.

      •   First, the Court should enter an Order barring Plaintiffs from seeking to introduce any

          evidence on damages, including both fact and proposed expert testimony. The Court’s



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          prior rulings, which are law of the case, have made clear that: (a) Plaintiffs may not recover

          lost profits on their claim for tortious interference with prospective economic opportunity

          (and lost profits are the only form of damages Plaintiffs identified and attempted to quantify

          and establish in discovery); (b) Plaintiffs’ recovery on their claim for defamation is limited

          to an award of nominal damages; and (c) without compensable damages, there can be no

          claim for punitive damages.       Consequently, any evidence about alleged damages is

          irrelevant to any issue to be tried.

      •   Second, the Court should enter an Order dismissing Plaintiffs’ claim for tortious

          interference with prospective business relationships, because absent proof of damages,

          Plaintiffs will be unable to state a prima facie case for this cause of action, which requires

          as an essential element, specified proof of economic harm, an element that Plaintiffs simply

          cannot establish because of the Court’s prior rulings.

      •   Third, the Court should enter an Order limiting the presentation of evidence at the trial to

          the four triable issues previously identified by the Court as being the only “live” issues,

          because evidence about any other issues is irrelevant.

                       SUMMARY OF FACTS PERTINENT TO ALL MOTIONS

          A.      Plaintiffs’ Claims and the Summary Judgment Opinion

          After Plaintiffs’ initial Complaint was dismissed without prejudice following an initial

  motion to dismiss, Plaintiffs filed their operative pleading, an Amended Complaint, which asserts

  three claims against Live Nation. Count I alleges that Live Nation tortiously interfered with

  Plaintiffs’ contractual relationship with State Fair Event Management (“SFEM”). Count II alleges

  that Live Nation tortiously interfered with Plaintiffs’ prospective ability to book artists represented

  by the talent agencies William Morris Endeavor (“WME”), AM Only (“AMO”) and The Windish



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  Agency (“Windish”). Count III of the Complaint alleges that Live Nation defamed Plaintiffs. See

  Amended Complaint (ECF # 24).

          Following extensive document, deposition and expert discovery, the parties’ cross-moved

  for summary judgment; the Court’s rulings on which were embodied in a 20-page Opinion. Count

  I, alleging tortious interference with SFEM, was dismissed by the Court. See ECF No. 81,

  “Summary Judgment Opinion” at 11 (“Because all alleged interference pre-dates Plaintiffs’ March

  7, 2011 contract, the Court grants summary judgment to Live Nation on Count 1”). Count II,

  alleging interference with WME, AMO and Windish, narrowly survived, based on the Court’s

  determination that there were three specifically identified disputed facts on the alleged

  interference. Id. at 11-13. Still, the Court ruled that Plaintiffs were barred from seeking lost profits

  relating to their narrowly surviving claim for interference, because the alleged lost profits were

  “too remote and speculative to meet the legal standard of reasonable certainty.” Id. at 20 (internal

  quotation marks and citation omitted.) Count III, alleging defamation, again narrowly survived,

  based on the conclusion that there was one allegedly defamatory statement that could support a

  claim. Id. at 16. Yet although the Court found that an email from Live Nation was potentially

  defamatory, it also ruled that any recovery for defamation would be limited to “nominal” damages.

  Summary Judgment Opinion at 16-18. 1 Thus, the Court found that, under the “presumed




          1
           Specifically, the Court found that because the email was sent on February 23, 2011 to
  SFEM, and SFEM subsequently contracted with Plaintiffs on March 7, 2011, the email could not
  support a claim for “special” damages (which the Court described as compensating Plaintiffs for
  “specific economic or pecuniary loss”). Summary Judgment Opinion at 16-17. The Court also
  found that Plaintiffs failed to adduce any evidence, and thus to create an issue of fact for trial,
  concerning “general” damages suffered as a consequence of the alleged defamation. Id. at 17
  (describing general damages as “address[ing] harm that is not capable of precise monetary
  calculation, including impairment to reputation and standing in the community, along with
  personal humiliation, mental anguish and suffering to the extent that they flow from the
  reputational injury.”).

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  damages” doctrine, Plaintiffs could proceed to trial on their claim that the February 23 email is

  defamatory, but they are limited at trial to a recovery of only nominal damages.

          The Court’s Summary Judgment Opinion thus limited the scope of this case to four triable

  issues (referenced below as the Four Triable Issues):

      •   Issue 1 (Count II) – whether Live Nation engaged in interference with the WME talent
          agency based on Jason Miller’s February 15, 2011 email. See Summary Judgment Opinion
          at 6-7 (“whether [Ms. Kirby of WME’s] opinion of [Plaintiffs’ Agent John] DiMatteo as
          ‘flaky’ and having poor marketing performance was colored by Miller’s comments [in his
          February 15, 2011 email] is a disputed fact.”).
      •   Issue 2 (Count II) – whether, as Plaintiff Dorfman alleges, Jason Miller of Live Nation
          made a threat in a meeting with Plaintiffs on March 3, 2011 and, if so, whether Live Nation
          carried out the threat. See Summary Judgment Opinion at 7 (finding a triable issue as to
          whether Mr. Dorfman’s recollection of the meeting was accurate and whether, if Mr. Miller
          made the alleged statements, Live Nation carried through on its “threats.”).
      •   Issue 3 (Count II) – whether, as Plaintiffs allege, Jason Miller of Live Nation made a threat
          in a meeting with Plaintiffs on April 22, 2011 (which Plaintiffs secretly recorded) and, if
          so, whether Live Nation carried out the threat. See Summary Judgment Opinion at 8
          (finding that, assuming Plaintiffs can establish the authenticity of the tape recordings, Mr.
          Miller’s statements provide a triable issue about alleged interference).

      •   Issue 4 (Count III) – whether a February 23, 2011 email from Live Nation’s John
          D’Esposito to Al Dorso, Jr. of SFEM was defamatory. See Summary Judgment Opinion
          at 16-18 (finding that while the February 23 email was potentially defamatory, even if it
          were found to be defamatory, it could support only a claim for “nominal” damages.).

          B.      Lost Profits Are Again Ruled Out

           Plaintiffs then sought to pursue an interlocutory appeal of the Court’s decision to

  preclude lost profits. See ECF # 91-1. Plaintiffs c o n t e n d e d t h a t a d e t e r m i n a t i o n

  b y t h e T h i r d C i r c u i t w h e t h e r the Court had properly relied on the “new-business

  rule” to rule out lost profits (rather than waiting to appeal as of right) was in the interest of

  efficiency and would conserve the Court’s resources since, without the ability to seek lost

  profits, “any trial would be over nominal damages.” Id. at ¶ 7. The Court denied the

  motion, in an 8-page published opinion (353 F. Supp. 3d 309 (2018)) in which the Court also


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  took the opportunity to refine its prior ruling, moreover, that even if the new-business rule

  did not act as an absolute bar to recovering lost profits, they would still be precluded under

  the reasonable certainty test, which Plaintiffs touted as the proper standard. S e e ECF # 98

  at 4, 8.

             C.      Lost Profits are the Only Damages Sought and Identified in Discovery

             Throughout discovery, the only type of damages Plaintiffs identified they were seeking

  to recover on the interference claim they advanced in Count II was lost profits. For example,

  when asked in Interrogatories to identify and describe the type, factual basis for and calculation

  of damages they were seeking to recover, Plaintiffs responded as follows:

                    Plaintiffs have sustained actual and economic damages in
                    the form of lost revenues as a result of the concerts
                    contemplated by their Contract not taking place. These lost
                    revenues include but are not limited to revenues from ticket
                    sales and liquor sales at each of the concerts contemplated
                    under Plaintiffs' contract with SFEM.

  See Certification of Ian S. Marx, dated March 14, 2024 (“Marx Cert.”), Ex. A (Answer to

  Interrogatory No. 6.)

             Similarly, Marianne Demario, Plaintiffs’ proposed expert witness on damages, and the only

  witness on Plaintiffs’ behalf who purported to establish and quantify damages, served a report in

  which she clearly and unequivocally focused solely on lost profits as the only type of damages

  Plaintiffs were purporting to quantify through her testimony. In relevant part, her report explains

  that:

                    Plaintiffs’ damages are equal to the profits Plaintiffs would have
                    made under the Agreement with State Fair. In this report I calculate
                    lost    profits   from     the     electronic     dance     concerts.

  Marx Cert., Ex. B (emphasis added). She also explained:

                    I estimated lost profits from Electronic Dance Concerts to be held
                    during the New Jersey State Fair in the years 2011 through 2014

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                  plus additional amounts assuming Plaintiffs exercised their option
                  for a five year extension to the Contract (see Exhibits C and D).
                  Plaintiffs are claiming additional damages related to two smaller
                  concerts (Latin and Rock Festivals) as well as secondary concerts,
                  and after parties. As of this report, I have not calculated damages
                  for these additional lost profits.

  Id. (emphasis added).

          Ms. Demario further confirmed at deposition that her report contained all of the opinions

  Plaintiffs’ intended to offer at trial, which were comprised solely of lost profits and nothing else.

  See Marx Cert., Ex. C (Demario Tr. 15:18-16:16; 34:11-36:25)

          D.       The Court Again Identifies the Remaining Issues to be Tried

          Subsequent motion practice resulted in a third relevant written decision from this Court

  which, again, embraced the validity of the reached conclusions about the exclusion of damages

  and the narrow scope of issues remaining to be tried. The motion arose because of a “new’ expert

  report served by Plaintiffs in June 2019, three years after the relevant, Court ordered, deadline for

  the service of expert reports. On September 27, 2019, the Magistrate Judge (who presided over

  discovery matters in this case for more than six years, conducted at least 13 conferences, and

  entered at least 6 scheduling order modifications, during that timeframe) entered an Order that

  correctly and appropriately granted Live Nation’s motion to strike the report and bar the alleged

  “new” expert from testifying at trial. ECF # 113. Plaintiffs appealed that ruling, which resulted

  in a 13-page Opinion from the Court. ECF # 127. Relevant here, the Court identified and agreed

  that are four issues are left for trial:

                  The SJ Decision disposed of Plaintiffs’ claim for tortious
                  interference of contract (Count I) because any conduct possibly
                  amounting to tortious interference occurred prior to the existence of
                  a contract. Id. at 10-11. However, Plaintiffs’ remaining claims—
                  tortious interference of prospective business relationships (Count II)
                  and defamation (Count III)— could proceed, subject to certain
                  limitations. Plaintiffs would be barred at trial from seeking lost
                  profits under Count II due to the “new-business rule.” Id. at 18-20.

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                Additionally, the defamation claim was narrowed to a single
                comment in an email from Defendant on February 23, 2011, and
                was found to be able to support only nominal damages, since
                special and general damages were precluded by the timing of the
                alleged statement. Id. at 16-18. Accordingly, the triable issues of
                fact for trial concern whether Defendant engaged in certain
                conversations and communications in which it unlawfully
                pressured SFEM and talent agencies not to work with Plaintiffs
                and, further, whether the February 23, 2011 email was in fact
                defamatory. Id. at 6-7, 16-18. 2
See ECF # 127 at __.

        The Court’s Opinion also explained that, in light of the Court’s prior rulings, and Plaintiffs’

admission in its prior motion, punitive damages are unavailable here. See ECF # 127 (“punitive

damages require compensatory damages and Plaintiffs have acknowledged that, without reversal

of the SJ Decision . . . any trial would be over nominal damages.”)(citing N.J. Stat. Ann. § 2A:15-

5.13 (“Punitive damages may be awarded only if compensatory have been awarded . . . . An award

of nominal damages cannot support an award of punitive damages.”)).

        E.      Plaintiffs’ Case/the Final Pretrial Order

        Despite the reality of the above Orders of the Court, Plaintiffs propose occupying a jury

and the Court for several weeks in an expansive trial with dozens of witnesses and hundreds of

exhibits. As explained in Live Nation’s proposed trial format in the Final Pretrial Order, based on

the Court’s prior rulings and what remains of the case, this should be a one-day trial limited to

liability only on four narrowly defined issues, as damages have been ruled out based on prior

orders of the Court. See PTO (ECF # 133). Plaintiffs (unrealistically and in a manner that simply

ignores the Court’s prior rulings), believe this trial should be expansive. They intend to introduce

at least 385 exhibits and estimate the trial will take two weeks on liability and one to two more day


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         The Court further observed: “The live issues after summary judgment, however, relate
to whether Defendant had specific conversations and communications in which it pressured third
parties not to engage with Plaintiffs and/or defamed Plaintiffs.” See ECF #127.


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on damages, with nine “will call” liability witness (and 17 “may call” witnesses) and three

witnesses on damages, including an expert whose only opinion was on lost profits (Plaintiffs

apparently still intend to present lost profits evidence and witnesses despite the Court’s clear

rulings). See ECF 133. Specifically concerning lost profits, Plaintiffs explain in the Final Pretrial

Order that:

                Plaintiffs plan to introduce expert testimony on damages related to
                the contract at issue here and hence will oppose any attempt to limit
                damages and/or the scope of the case to the “Four Triable Issues”
                as indicated by Defendants below. While the previous summary
                judgment order was clearly entered erroneously, particularly given
                the current New Jersey Supreme Court case law on lost profits,
                Plaintiffs’ damages are not related to future lost profits, but rather
                the profits lost on related to the actual contract at issue.

ECF # 133 at p. 2 (emphasis added).

                                              MOTION I

                     PLAINTIFFS SHOULD BE BARRED FROM SEEKING
                     TO INTRODUCE ANY EVIDENCE ABOUT DAMAGES

        As discussed above, this Court has ruled clearly, unequivocally and without qualification,

that Plaintiffs are not entitled to recover lost profits on their claim for tortious interference and that

Plaintiffs’ potential recovery on their claim for defamation is limited to nominal damages.

Enforcing these prior rulings promotes judicial economy, finality and fairness – the main goals of

the law-of-the-case doctrine.

        The law-of-the-case doctrine directs courts to “refrain from re-deciding issues that were

resolved earlier in the litigation.” Pub. Int. Rsch. Grp. of New Jersey, Inc. v. Magnesium Elektron,

Inc., 123 F.3d 111, 116 (3d Cir. 1997). 3 As explained by the Court of Appeals, “the doctrine



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         The doctrine applies “as much to the decisions of a coordinate court in the same case as
to a court's own decisions.” Christianson v. Colt Industries Operating Corp., 486 U.S. 800, 816,
108 S.Ct. 2166, 2177, 100 L.Ed.2d 811 (1988).

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promotes finality and judicial economy” “Because it prevents courts from entertaining endless

appeals on the same issue.” Id. (citing 18 Charles A. Wright, Arthur R. Miller, Edward Cooper,

Federal Practice and Procedure § 4478 at 788 (1981)(“Law of the case rules have developed to

maintain consistency and avoid reconsideration of matters once decided during the course of a

single continuing lawsuit.”).

        As discussed above, on Plaintiffs’ interference claim, the only damages Plaintiffs

quantified and attempted to establish during discovery were lost profits and plaintiffs are barred

from seeking lost profits of any sort (regardless of whether they are future, present or past). On

Plaintiffs’ defamation claim, the Court has clearly limited Plaintiffs recovery to nominal damages.

The Court has also observed that punitive damages are unavailable here, given that compensatory

damages cannot be awarded and award of nominal damages cannot support an award of punitive

damages. The above rulings of the Court should be enforced and an order should therefore be

entered, barring Plaintiffs from seeking to introduce any evidence about damages, as such evidence

is irrelevant and thus inadmissible. See FED. R. EVID. 401, 402.

                                           MOTION II

    THE COURT SHOULD DISMISS COUNT II OF THE COMPLAINT ALLEGING
        INTERFERENCE FOR FAILURE TO SATISFY PRIMA FACIE CASE

        If the Court grants Motion I and bars Plaintiffs from offering any evidence of damages (as

the Court should based on its prior rulings), then the Court should as a natural and logical next

step, dismiss Count I of the Amended Complaint, because Plaintiffs are required to establish

particularlized economic harm as an essential element of this claim and Plaintiffs would be unable

to do so.

        Under New Jersey law, tortious interference with prospective economic benefit has four

essential elements that must be established at trial to state the prima facie case: “(1) a protected


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interest; (2) malice—that is, defendant's intentional interference without justification; (3) a

reasonable likelihood that the interference caused the loss of the prospective gain; and (4) resulting

damages.” New Jersey Physicians United Reciprocal Exch. v. Boynton & Boynton, Inc., 141 F.

Supp. 3d 298, 309 (D.N.J. 2015); see Graco Inc. v. PMC Global, Inc., No. 08–1304, 2012 WL

762448, at *17, 2012 U.S. Dist. LEXIS 188865, at *49–50 (D.N.J. Feb. 15, 2012) (“Economic

damages are a substantive element of a tortious interference claim. These damages must be

identified with a certain degree of specificity.”) (quoting Eli Lilly and Co. v. Roussel Corp., 23 F.

Supp. 2d 460, 494 (D.N.J.1998)).

        The Court has already ruled that Plaintiffs have not established the economic damages

necessary to state a prima facie case of interference. Consequently, the Court should enter an

Order dismissing Count I of the Amended Complaint.

                                           MOTION III

                     THE COURT SHOULD LIMIT THE TRIAL TO
                THE FOUR TRIABLE ISSUES PREVIOUSLY IDENTIFIED

        As discussed, the Court has identified Four Triable Issues that are “live” for trial in what

remains of Plaintiffs’ Amended Complaint. Any evidence the Plaintiffs seek to introduce that is

not germane to these narrowly defined issues is therefore irrelevant and should be excluded. See

FED. R. EVID. 401, 402. The Court should enforce its prior rulings and enter an Order barring

Plaintiffs from offering facts or witnesses not germane to the Four Triable Issues.

                                          CONCLUSION

        Live Nation asks the Court to grant its motions and enter an order:

        1.      Barring Plaintiffs from attempting to introduce any evidence on damages;




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        2.      Dismissing Count II of Plaintiffs’ Amended Complaint because plaintiffs are

                unable to establish damages and damages are an essential element of prima facie

                case for tortious interference; and

        3.      Barring Plaintiffs from offering any witnesses or facts that are not germane to the

                Four Triable issues remaining.

                                               Respectfully submitted,

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Dated: March 15, 2024




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